Case 8-18-72000-reg Doc 32 Filed 07/30/18 Entered 07/30/18 15:50:55
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newman L-B'C-DS .’FI\IC,,

 

 

 

umwa mem amnupwy court mr mac Dlnlrlot of

cmmmr`W'\Q'“L°® “;’:.::‘:,;'::r;;“"
Offrclal Fo_rm 4250

llllenthly operating R`e|lort for Sma|l Buslneu under Ch¢pt¢r 1 1 12117

 

Mnmh= 51 Lol§ D le nmed: 7¢'7_;§£¢5
a repo mm nor ,
une of mimms _Q.cll‘&_‘=@_._ ”3'~ NAlsc code

ln accordance with tlll¢ zB, section 1748, ofl'he Unlted $tsbes Codo, l declare under penalty of perjury
that l have examlnod the followan small business monthly operating report end the aocompanylng
attachments snd. to the but of my knowledg¢, these documents are lrue. eorrect, and complele.

 

 

 

Re¢ponslble party: l_\.j L(/ I mg

ongrm\ ¢lgnmure or women perry §’-:-7 x ,

Prlnlad name of responsible party L‘ of (v' / A'LO€
- 1. questionnaire

 

Answer all questions on behalf of the deblnr for the perle covered by 'lh|s rapon. unlese,olherw|se lndloabed.

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§§

 

 

¥ol
lf you answer No to any of the uuestlone ln llnos 1-9. attach an explanation and label ll EthbItA.
1, n Dld lhe buelneae operate dunng the entire reporting perlod'? d a 0
2 Do you plan to oonllnue lo operate lhe business next manlh? d n u
3. Hsve you paid all of your bills on llme? B/ a n
4. Dld you pay your employeee on tlme? d El l:l
5. Heve you depeellnd all lhe receipts for your business lnlo debtor ln possession (DlF') aooounls’r d 0 a
B. Have you limer med your tax returns end paid all of your taxes'l [g/ cl n
7. Hsve you limer med eli other requlred government lillnge'? [3/ n n
8. Are you ourrent on your quarterly fee paymenls r,o the us. Trusveo or Bankmplny Admirrislrstor'? la/ n n
9. Heve you limer gold all of your lnsunmoe premlums? U/ n U
ll'y_ou answer Yesto w of the gueetlonn ln llnns 10-18, attach e__rr npl!_nal`lon end label lt Exlr(l)lt B. ,
10. Do you have any bank accounts open oih€r lhan the DlP eacounle? -v ‘a/ n
11. Have you sold any assets other lhen lnver\lory? ' |;l g a
12.' Have you sold ornansferred any assure or provlcled services to anyone related lolhe DlP ln any wey? |:l d Cl
13. Dkl sny lnsuranoe company cancel your polley? U g l:l
14. ore you have any unusual or slgnmoant unansclpaced expenses? L'J d L'-l
15. Have you borrowed money from anyone er has anyone made any payments on your behalf? n § n
Cl Cl

16. Has anyone»gnede en lnveelmonl in your huslness?

Ollldul Forrn 4250 Monthly Operlllng Repor\ for Smull luolrwse Under Chaphr 11 page 1

@?r’3El/2@18 BZ:B?F’M 6314248755

bouleer LH'CO‘> I`HC’- Gesenumber

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17. l-lsve you paid any bllls you owed before you llled bankrupr

lB. Have you allowed any checks to clear the bank that were lssucd before you filed bankruploy?

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18~11000

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- 2. summary or cash A¢riviry for Au Ac¢ounts

19. Tota| opening balance of all accounts

iq . l,
Th|e amount must equal what you reported err the cash on hand at the end of the monllr |n the previous $ l_‘\"j`& 1 '
month. lf this ls your dral reporl. report the total cash on hand as cline date or me filing of this oeoo.

20. Totll cash receipts

Allnr:h a listing of all o`ooh received for the month and label ll Erriribii C. lnolude all
cash received oven ll you have not deposited it et the banlt. collections on
reoeivablee. credit cord dopoerln. nash received from other partieo, or loans. glile. or
payments made by other parties on your behelr. Do nol attach bank statements in
lieu of Exilibil C.

Reporl; fha total from EXhibl! C here.

21. rural cash disbursements

22.

23.

All_eoh a listan of eli payments you mode ln the month end label it Exhibit D. Llel the
core paid. peyee. purpose_. end amount include ell cash payments. debit card
transactiona. checks issued even ‘rf they have not cleared the bank,- outstanding
circuits issued before the bankruptcy was lilod that were allowed lo clear thLe month,
and payments made by other parties on your-hehnll. Do not aileen bank statements

ln lieu of Exhibit D.
Report the total from Brhibii D hero.

Not cash flow

Sublrsctilne 21 imm line 20 and report the result here.
Thln amount may be dtlferenl from what you mey have calculated ss net profit

cash on hand al the end of the month
Add line 22 + line 19. Report the result hero.

s \§§?>lil-W-

_,rrallss'z.‘b@

+$'G,r'i$.i‘/

_ 3 un¢ls.);r

Report this ilgure as the cash on hand attire beginning ofihe month on your next operating report
This amount moy not match your bank account balance because you may have outstanding checks that

have nol cleared the bank or deposits in barrett

 

 

 

- 3. unpaid ours

Allnch e list of all debts {lncluding meal whld‘l you have incurred since the date you filed bankruptcy but
have not pard. Labei it Exiribil E. lndude lite date the debt were lncrrrred, Mro le owed the money. the

24.

Olllda| lel 4250

 

purpose of the debt and when the debt la due. Report the total from Exhibit E hsre.

Totnl payablea
(Exhii)ir E)

$.Q

Narwhly operating Repon for small Buolnm under Chaptsr 11 page 2

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Doblorl\iemu '~_‘A_(DS ';}:N C-' anonurnber 13 '-?’z'GQD

- 4. _Money Owed to Yo_u

~Attech o list of ali amounts owed to you by your customers for work you have done or merchandise you
have sold. include amounts owed to you both before. end alter you nied bankruptcy l.ebel il Exhibrr F.
identity who owes you monoy, how much le owed. end When payment is due. Report the total from
Exhib`il F here.

25. ram receivables s§,m_C=¢-OJW\J
(Exmbri F)

- 5. Employees

 

 

 

 

 

 

 

26, Whet was the number of employees when the ease was l'l|ed? L
27. Wnat la the number of employees as ortho dale of this monthly report'? -W&-
- _6. Professlonal Feee
28, How much have you paid this month ln professional fees related to this bankruptcy oeee? 3 .____g__
29. How much have you paid in professional fees related to this bankruptcy case since the oeee was niert? 5 o
30. l'low much have you paid this month in other professional fees? § o
3 0

3~1. l-low much have you paid in total other professional fees since ililng the carver

 

- 7. P_ro|ectlons

Compare your actual cash receipts and disbursements to what you projected in the previous menlh.
Pro|eotod igures in the first month should match those provided at the initial debtor interv|ow, if any.

 

 

Coiumn A Coiunm-B Coiumn C

Fro}ected - Ar.tual o pliie'r"ono_o

Copylinos 35~31' horn t‘.`~opy lines 20-22 of ' jSu_blr'ae`t Column B

lite previous month'e ll'l|s'raport. -`- from Column A.. -`

report

' ... = . l

32, Caah receipts s M s M ' £'c"’ $_BJHM
33. Cosh disbursements l $ 46` nw n - _$ _Ll._i § §_£§_-!»°D n " imm _ _`.1..-'].-...11`* 3
34 ..,m,.,,,°,, §.$ lopez |- -' s_ftrl 11 iii ir smell
35. Total projected oeeh receipts for the next menth: 5 w
36. Totai projected oaeh disbursements for the next month: - 31 ft fl g mo
ar_ rural projected net cash now for the next moncri- = $ m mg _

 

O‘lf|olal Form 4250 Monthiy operating moon for Smoii Buolneae under Chaptor 11 pape 3

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D¢bwr Nnme L~DFCD'\ MC/ gm umw l 3 ‘ 7 z-DOG

- s. Audmonal lnfonnauon
ifavallable, check the box to \he left and attach ooplos of the folan documents

KBB. Bank statements for each open account (redeot all but the last 4 digits of amount numbers).
C| 39. Bank mcanol}iet!on reports for each aecoum.

C] 40. Flnanclo| reports such as an income statement (prof¢t & loos) end/or balance sheet
El 41. Budget. pm]actlun,or forecast mports.

E| 42. Proied. job oostlng, or work-impron reparts`

Omcbl Form 425C Month!y Op¢ratinq Roport for Bmall Buslmu under Chapter 11 page 4

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mm
§ America's Most convenient Bank° T sTATEMENT oF Accoum
§ 000150513 01 Av 0.375 MTD01040060213190770 00161?11
§ LACO.S |NC ` Page: _ 1 of 4
§ DEBTOR 111 Poss.EssmN Statement Pen'od: May 05 2013-sway 31'2013
§ 65 WALL ST .' C\J_'_»'t Ref #1 `
' HUNT§ NGTON NY 11743 PrmeW ACCOUHT #!
§ 1'||1|'||\"|.'\'111"1'|'1|111|11""1|1'.11|11ll'mmu"ll'l'1"'|
§
§§ TD B_usiness Cpnve_nience_ P|us
§ LACOS '1NC Account #
§ hamm IN PossEsson
i
§ _ AccouNT s`uMMARY
Beginning Ba\anoe ` ' - 0.00 Average Colleoted Ba|ance 2,454._54
Deposits ` 15,100.00 Interest Earned This Permd 0.00
_ Ele__qt_rgnic_ Degosi_ts _,._,,_, _3,5,8_,9_6`.&9_ __ ,._M _.,__Ln.tere_st Paid _¥eaz:=ta'Dats_~. _`_- ~ 010.0
§ . Ot'her Credits 7,236'.59 Annual Percentage Yield Eamed 0.00%
' Days in Period 1 27-
Chjec_ks Paid 25,511.29
E|eo'tronic Payments 2 .62'2.09
Other With'drawa|s 23,04_9;23
Ending Ba|an¢e ` 7,050.97
z DA:LY AccouNT Ach_VlTY
Deposits,
5 P'os_TlNe DATE DEsch_P'noN AMouNT
§ 05/0_7 DEPOSIT 100.00
§ 05/17 DEPOSIT 3,_000.01:1
§ ‘05/21 ' DEP`OSIT 12,00_0.00
i Subtotal: 1,5,'1.00,00
Electronic Deposlts. . `,
msan nms oEscmPT`loN _A)vloum
05/23 CCD DEPOS|T, MRCHNT Pl\/INT PROO DEPOSH'~ 434801377889 1,413.92
051/24 CC_D DEPOS|T MRCHNT PMNT PROC DEPOS_IT 434801377889 1,513,31
05/25 , 'CCD DEF’QS|T, |V|RCHNT F‘IV\NT PROC DEPOS|T 434801377889 1,251.93
_.-.~.. _H..,,.,,QB/£&~l .. , -CCD~DE.PO$!T.. MRGHNT PMNT PRO.G DEP©S|`PA»B¢LBM-H¥BBS~ "-"' '- " "*`.10,&'>7'075~4l
_. 05/29' l l : . .' ch_ -,DEPQS|T N\RCH_NT PMNT PRo`c DEP'os1T 43430_13_77_339 ' 3,769_.58
05/29 . CC.D DEPOS]T, |V|RCHNT P|VINT PROC DEPOS|T 434801377889 7,512.60
05/`29' ‘CCD DEPOS|T, MRCHN.T PMNT PROC DEF'OS!T 434801377889 2,963._5'5
05/31 'CCD DEPOS|T,:MRCHNT PMNT PROQ DEF’OS|T 434801377889 1,9`01.56 ‘
' _ ' ' sumora‘l: 35,896.99
Oth.er` Credits
PosTlNe nAjE' DEscRiP'rloN 4 A'MouN'r
05/22 . RETURNED lTEI\/l 4;965.00
05/30 _DEF’OSIT CORRECT|ON 2,2"/'1.59
Subtota|: 7,236.59

 

 

 

 

Ca|l 1-800-937-2000 for 24`-hour Bank-by-Phon'e services or connect to www.tdba-nk.com

 

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1 ' --|i] B.ank
Amerlc.a'§ Most Cvnveni¢ni Banl<° sTATEMENT _oF AccouN'r
§ LACQS~ |NG ' - Page‘ ' 3 of 4
§ DEBTQR`|N pOSSESSION - Statehent P`eriod; Mey 05 2018-May 31 2018
; Cue.t Ref#; ‘_ “ `
§ P'rimaryAccount #'. ""
58
§§ DAILY AccouNT_ AchvlTv
" checks paid ND_ Ched§;_ 12 *lndinaies break in serial sequence or check processed e!eclrnnicallyar\d lived under EleOthr\|G P@MT.'E"!B
_ . . DATE l sEmA\. Nc_). AMOUNT DATE sERlAL No. AMOUNT
_05/21 § ' se § 4,965-.00 05/29 1081 , 387.96
i .j'os/_zs' 1 - 10_1* 1,211.00 05!30 110* 3,'378.'16
` 05/25 102 _4.380;83 051/30 1 11 3,000.00
._. w _ _ .9_5/24,_____ 1051 __, , _A».,ZDO.DQ, ___..` . ` c 1_051/39__ .. _._,__._1_13,_*__~ ,M_._,+ ._33.9|_,1.0. ,1
§ 0`5/25 ' _ 106 130;99 06/29 1 151 ‘ 431.19
§ l 05/29 107 v 1,194.87_ 05/29 5116 5 1 1 ,842.19
` eubtotat; -25.511.29
1 'Electronic Payments
§ Poa'rma DATE DEScR\PTloN AMouNT
§ _ 05/1,8 _ ACH DEB|T, HARLAND C|.ARKE CHK ORDERS 1EZQ043103741L4 26.15
_ 05/23 DEB|T CARD PURCHASE AUT 05221-8 VISA DDA PUR 225.68
; . S_TUBHL|B lNC ‘ 386 ?Ba 2452" GA »
§ _ _- 4085404020623710
§ 05/23 . OCD DEB|T, \V|RCHNT PN|NT PROC FEES 4348_01377889 36.79
' 05/2.4 ` ` TD ATNI DEEHT. AUT 052418 DDA WlTHDRAW 500.001
j ' ‘ 410 NEW YORK_AvE j HUNTlNGTON ' NY
l ' ~ 4085404020823710
| 05/24 _ DEBET CARD PURC|'|ASE, AUT 052418 VlS'A DDA P_UR ,'64.74
a ' ' ' ' THE HOME DEF'OT 1272 ,- HuNT1NGTON ‘ NY v
l 4085404020623.710 _ _
1 05/24 ` CC`D DL=.BIT MRCHNT' PMNT PROC FEES‘434801377889 33.11
i _ 05/25, TD ATN| DEB_IT, AU`T' 052518 DDA W|THDRAW 500.00
410 NEW YOR'KAVE HuNTlNGTON ' NY ‘
.= . 4085404020623710
`05/25 DEB|T CARD PURCHASE, AUT 052418 V|SA DDA PUR v 322,62
_ HAMC:O NEW YORK 516_4_892313_ * NY __ l
.- » -.- - »-~-~» -- - -~41-:35¢11:1¢1020623?10 ‘ " -" " ' ' "“*" "" '* “* ' ' ' "'_' ""' - " 1 “" " 4 " “ "
-05125. C_CD DEB|T, MRCHNT F'lV|NT F’ROC FEE.S 434801377889 ' 1 29.72
05/25 ~ CCD DEB|T, i\/\RCHNT F'N|N;T PROC ACOTCHGFEE 43480137788_9 25'.00
05/29 CCD DEB|T IV|RCHNT PMNT PROC FEES 434801377889 279.94
05/29 _ ' CCD DEB|T, IV|RCHNT P|VINT PRO_C FEES 434801377889 245159
0`5/29 CCD DEBIT. MRCHNT PIV|NT PROC FEES 434801377889 16.1.38
05/29 - DEB!T F‘C>S~, AUT 05`2618 DDA PURCHASE ‘ 70.62
_ . GluNTA 5 MEAT r= ' NORTHPORT ' NY
4085404020623710 `
05/29' 'CCD DEE|T, l\/IRCHNT PN|NT F‘ROC FEES 434801377889 55189
05/31 CCD DE_B|T, N|RCHNT PMNT'_F’ROC FEES 43_4801377889 44.76
Subtotal‘. 2,622.09

-Call -1-800»937-2000 for 24-h011_r Bank-'by-Phone services or connect to www.tdbank.com

 

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, LACOS INC _

DIP CASE 18-72000 EDNY

65 WALL ST

HUNTI`NGTON NY 1 1743

§ l 039 / Chapter 1 l Checking ,

 

1 Trnnsactiu_na Dy I)ulc
. Date Description Debit _ Credit Balance

 

'. 05/24/2018 DDA WITHDRAW TW04CO90 410 NEW YO $500.00 . $6,590-27

_1- g .

   
 

1 05/24/20.18 MRCHNT PMNT PROC FEES $33.11 $6,4-92.42

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DDA W'ITHDRAW TWO4CO9O 410 NEW YO $500-00
y h - l n ' ?" .'. l

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MRCHNT PM`NT PROC FEES $245.69
"" ' 'h 'r ' 11 g .¢' .| ‘ , ' ' . .

DEPOSIT CORRECTION $2,271.59

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MRCH`N'I` PMNT PROC FEES $44.76

   
 
 

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$20,865.69

 

$19,996.54

 
  
     
  
 
  

$14,183.02

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$5,194.17

 
 

   

$7,050,97

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DICK S SPORT $48.86` $767.30

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'- 06/04/2018 MRCHNT PM`NT PROC FEES $39.29 $10,944.56

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$8,230.43

§ 06/05/2018 MRCH`NT PMNT PROC FEES $151.45

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: 06/05/2018~ VISA DDA PUR 482824 VALUE DRUGS ST $55.42 $8,110.49

. 06/07/2018 MRCH`NT PMNT PROC DEPOSIT $1,080.72 $7,170.83

§"l

  
  

 
   

-\ .-\ . . dr .;.

06/0'7/2018 MRCHNT PMNT PROC FEES $31.94 $2,977.30

1 »

06/11/2018 VISA DDA PUR 401339 GREENLAWN DAI $14.35 - $3,331.56

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06/18/2018

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M_RCHNT PMINT PROC DEPOSIT $1,826.11

MRCHNT PMNT PROC DEPOSIT . $11,867.69'

PAGE 2?!31

$4,752.37

 

 

    

($607.35)

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; 06/18/2013. M'RCHN'I` PMNT PROC DEPOSIT $6,420.65 $12,618.57

J_!__.,..

' ' .N-\ . -'u\

   
 

 
  
   
 
   

06/18/2018 M_RCHNT PMNT PROC DEPOSITl S3,886.20 $22,230.81 _

 

 

5 06/1 8/2018 DDA WITHDRAW TW04CO90 410 NEW YO $500.00 $18,646.86

pr ¢_,_,,\

06/13/2018 VISA DDA PUR 434285 THE FRISKY OY`S’I`] $202.94 _ $18,175.92

F, , B\ ¥'\'“

§ 06/20/2018 143 CHECK $900.00 $11,217.46

 

06/20/2018 DDA PURCHASE 319181 THE HOME DEPO $47.66 $10,669.80 _

 

. 06/21/2018 DEBIT $900.00 $12,448.66

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THE BARN HUN

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06/22/2018 VISA DDA PUR 426979 THE BARN HUNTI $12,44 $11,780.52

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06/25/2018 ' MRCHNT PMNT PROC DEPOSIT n $2,873.85 $21,390.37

 

06/25/2018 ADP TAX ADP TAX $19,390.37

 

06/25/2018 142 cHEcK 3792.00 $17,420.37

   
 
  

06/25/2018 159 cHEc`K s679.34 _ $15,991.03

 
 
   

              

  

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VISA DDA PUR 490641

    

06/25/'2018 - VISA DDA PUR 419304 LUSO RESTAURAN $113.85 $14,617.90 '

 

_ 06/25/2018

\D.

06/26/2018 148 CHECK $3,203 .'79

 

06/26/2018 161 cHECK - $1,205.54 $18,695.07

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MRCHNT PM'NT PROC DEPOSIT $1,972.12

 

$,19,162.91

 

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Chec§ :! fgansactions
Numbera `Q' Date Amount Number Date Amount Number Date Amount
90 5/21/2013 $4,965.00 143 6/20/2013 $900.00
98 5/22/2018 $4,965.00 145 6/25/2013 31,178.00
101 5/25/2018 $1,211_00 146 6/20/2018 $2,000.00
102 5/25/2018 $`4,380.83 148 6/26/2018 $3,203.79
105 ' 5/24/2018 $4,200.00 149 6/28/2018 5846.36
106 5/2`5/2018 $130.99 151 6/11/2013 5146.00
107 5/29/2018 $1,194.37 152 6/12/2018 $533.65
108 5/29/2018 ' $387.96 153 6/22/2013 $275,00
109 6/1/2013 $2,666.25 154 6/26/2018 $400.00
110 5/30/2013 $3,378.16 155 6/25/2018 $221.60
111 5/30/2018 $3,000.00 156 6/27/2018 $6,291.80
112 6/5/2018 $2,000_00 157 6/25/2013 $750.00
113 5/30/2013 $339,10 153 6/26/2018 $280.50
114 6/1/2018 $s28.00 159 6/25/2018 $679.34
115 5/29/2018 $481.19 161 l6/26/20111 $1,205.54
116 5/29/2018 $1,342.19 176 6/15/2018 $1,092.00
117 6/1/2013 $186.42 176 6/13/2018 $1,092.00
118 6/11/2013 $1,600.00
119 6/4/2013 3229.93
120 6/12/2018 $4,000.00
121 6/4/2018 $3 ,307.63
122 6/4/2013 51,948.84
123 15/4/2013 1;92.35
124 6/11/20113 $6,493.56
125 6/11/2013 $748.11
125 6/6/2018 $2,975.41
127 6/5/2013 $1,500.00
128 6/4/2018 ~ $1,600,00
129 6/12/2018 $7,000.00
129 6/13/2018 $7,000.00
131 6/12/2018 $2,500.00
131 6/13/2'018 $2,500.00
132 6/7/2018 $161.59
_133 6/7/2018 $1,800.00
134 6/15/2013 55,726.04
134 6/13/2013 $5,726.04
134 6/19/2013 $5,726.04
136 `6/18/2018 $2,700_00
137 6/15/2013 $6,1305.27
137 6/13/2013 $6,305.27
139 6/15/20113 $140.00
140 6/13/201'13 $760.00
141 6/29/2018 $11,000.00
142 l6/25/2018 $792.00

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